             Case 4:16-cr-00132-A Document 399 Filed 07/12/16               Page 1 of 2 PageID 965
              ,;/)
             c                 IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
      r. \ ~,,~ ~,\_                   FORT WORTH DIVISION
o?-\o~·,
..·     UNITED STATES OF AMERICA

        v.                                                             No. 4:16-CR-132-A

        CHARLES BEN BOUNDS et a!


             GOVERNMENT'S NOTICE OF INTENT TO USE AUDIONIDEO EVIDENCE

                 The Government intends to use at trial the following audio/video evidence, and/or

        a transcript of such evidence:

                 1.     Various audio recordings (and transcripts thereof) of jail calls/visitations of

        Roger Langston.

                 2.     Various audio recordings (and transcripts thereof) of jail calls/visitations of

        Amanda Chaberlain.

                 3.     Various audio recordings (and transcripts thereof) of jail calls/visitations of

        Billy Skaggs.




        Government's Notice of Intent to Use AudioNideo Evidence - Page 1
    Case 4:16-cr-00132-A Document 399 Filed 07/12/16                Page 2 of 2 PageID 966



                                                       Respectfully submitted,

                                                       JOHNR. PARKER
                                                       UNI D ~TATES ATTORNEY
                                                                                 I


                                                         ssi ant United States Attorney
                                                       Slate Bar of Texas No. 24033206
                                                       801 Cherry Street, Unit #4
                                                       Burnett Plaza, Suite 1700
                                                       Fort Worth, TX 76102-6897
                                                       Telephone: 817-252-5200
                                                       Facsimile: 817-252-5455




                                  CERTIFICATE OF SERVICE

       This is to certifY that on the 12th day of July, 2016, a true and correct copy of the
foregoing was served on opposing counsels.
                                                                            7




Government's Notice of Intent to Use AudioNideo Evidence - Page 2
